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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Aziz Aityahia,                                   NO. CV-21-01109-PHX-SMB
10                  Plaintiff,
                                                     JUDGMENT IN A CIVIL CASE
11   v.
12   Westwind School of Aeronautics, et al.,
13                  Defendants.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
18   July 7, 2023, which granted Westwind’s Motion for Summary Judgment, judgment is
19   entered in favor of Defendant Westwind School of Aeronautics and against Plaintiff.
20   Plaintiff to take nothing, and the complaint and action are dismissed.
21                                             Debra D. Lucas
                                               District Court Executive/Clerk of Court
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23   July 7, 2023
                                               s/ D. Draper
24                                       By    Deputy Clerk
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